Case 2:23-bk-10990-SK         Doc 155 Filed 05/24/23 Entered 05/24/23 13:49:30                     Desc
                                Main Document Page 1 of 2


       PETER C. ANDERSON
  1   UNITED STATES TRUSTEE
      MICHAEL JONES, State Bar No. 271574
  2   ASSISTANT UNITED STATES TRUSTEE                                  FILED & ENTERED
      RON MAROKO, State Bar No. 124770
  3   TRIAL ATTORNEY
      OFFICE OF THE UNITED STATES TRUSTEE                                     MAY 24 2023
  4   915 Wilshire Boulevard, Suite 1850
      Los Angeles, California 90017-5418                                 CLERK U.S. BANKRUPTCY COURT
  5   (213) 894-4520 telephone; (213) 894-2603 facsimile                 Central District of California
      Email: ron.maroko@usdoj.gov                                        BY may        DEPUTY CLERK
  6

  7
                                 UNITED STATES BANKRUPTCY COURT
  8
                                  CENTRAL DISTRICT OF CALIFORNIA
  9
                                             LOS ANGELES DIVISION
 10

 11
      In re:                                           )   Case No.: 2:23-bk-10990-SK
 12                                                    )   Chapter 11
      LESLIE KLEIN,                                    )
 13                                                    )   ORDER APPROVING APPOINTMENT OF
                                   Debtor.             )   A CHAPTER 11 TRUSTEE
 14                                                    )
                                                       )   Hearing Date: NOT REQUIRED
 15                                                    )   Place:        Courtroom 1575
 16            After a hearing on 5/17/23, the Court determined that there was cause to dismiss, convert, or
 17   appoint a Chapter 11 Trustee, and it was in the best interests of all creditors, under the
 18   circumstances of this case, that a Chapter 11 Trustee be appointed forthwith and entered an order
 19   directing the U.S. Trustee to appoint a Chapter 11 Trustee in this case. Docket #142.
 20   //
 21   //
 22   //
 23   //
 24   //
 25   //
 26   //
 27   //
 28   //
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                             Main Document Page 2 of 2



  1          The Court having considered the United States Trustee’s Application For Order Approving

  2   Appointment Of Trustee And Fixing Bond (“Application”; Doc 154), and for good cause appearing,

  3          IT IS HEREBY ORDERED that the Application is GRANTED.

  4          IT IS FURTHER ORDERED that the appointment of the Bradley D. Sharp as Trustee by

  5   the United States Trustee is APPROVED.

  6   IT IS SO ORDERED.

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 23 Date: May 24, 2023

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